                                         UNITED	  STATES	  BANKRUPTCY	  COURT	  
                                           EASTERN	  DISTRICT	  OF	  MICHIGAN	  
                                            SOUTHERN	  DIVISION	  –	  DETROIT	  
   	  
   IN	  RE:	                                                                                          Case	  No.	  14-­‐59311	  
   MAURICE	  GORGES	                                                                                  Hon.	  Thomas	  J.	  Tucker	  
   DEBTOR	      	       	      	    	           	        	  	  	  	  	  	  	  	  	  	   Chapter	  13	  
   ________________________________________/	  
   	  
        DEBTOR’S	  REQUEST	  FOR	  VOLUNTARY	  DISMISSAL	  OF	  CHAPTER	  13	  CASE	  
                                                          	  
   	      Debtor,	  through	  counsel,	  and	  pursuant	  to	  11	  USC	  §1307(b),	  states	  that	  

   this	  case	  has	  not	  been	  converted	  under	  11	  USC	  §706,	  11	  USC	  §1112	  or	  11	  USC	  

   §1128,	  and	  requests	  that	  this	  Court	  enter	  the	  attached	  order	  dismissing	  the	  

   case.	  

   	  
   Dated:	  	  March	  4,	  2015	   	            	        Respectfully	  submitted,	  

                                  	          	       	        SANDWEISS	  LAW	  CENTER,	  P.C.	  

   	          	       	        	          	       	        __________________________________	  
   	          	       	        	          	       	        By:	  	  STUART	  SANDWEISS	  	  (P60921)	  
   	          	       	        	          	       	        Attorneys	  for	  Debtor	  
                                                                 18481	  West	  Ten	  Mile	  Road,	  Suite	  100	  
   	          	       	        	          	       	        Southfield,	  Michigan	  	  48075-­‐2621	  
   	          	       	        	          	       	        (248)	  559-­‐2400	  	  	  Fax	  (800)	  577-­‐1716	  
   	          	       	        	          	       	        stuart@sandweisslaw.com	  
                                                                    	  	  




                                                                 	  	  	  
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                                                   CERTIFICATE	  OF	  SERVICE	  
   	  
   	        Stuart	  Sandweiss,	  Attorney	  for	  Debtor,	  certifies	  that	  he	  served	  a	  copy	  of	  

   the	  foregoing	  on	  the	  Trustee	  and	  all	  ECF	  participants	  through	  the	  ECF	  system	  

   on	  March	  4,	  2015	  

   	  
   Dated:	  	  March	  4,	  2015	   	             	        Respectfully	  submitted,	  

                                   	       	          	        SANDWEISS	  LAW	  CENTER,	  P.C.	  

   	        	        	          	       	          	        __________________________________	  
   	        	        	          	       	          	        By:	  	  STUART	  SANDWEISS	  	  (P60921)	  
   	        	        	          	       	          	        Attorneys	  for	  Debtor	  
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   	        	        	          	       	          	        Southfield,	  Michigan	  	  48075-­‐2621	  
   	        	        	          	       	          	        (248)	  559-­‐2400	  	  	  Fax	  (800)	  577-­‐1716	  
   	        	        	          	       	          	        stuart@sandweisslaw.com	  
   	  




                                                                  	  	  	  
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